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 6
     ATTORNEYS FOR DEFENDANTS, CARPENTERS SOUTHWEST
 7   ADMINISTRATIVE CORPORATION and BOARD OF TRUSTEES
     FOR THE CARPENTERS SOUTHWEST TRUSTS
 8

 9                           UNITED STATES DISTRICT COURT
10                                    DISTRICT OF ARIZONA
11
12   HKB, INC., an Arizona corporation,           2: 16-cv-03799-DJH
     doing business as SOUTHWEST
13   INDUSTRIAL RIGGING,
                                                  DEFENDANTS' OBJECTIONS TO
14                                                DECLARATIONS FILED WITH
                                                  PLAINTIFF'S AMENDED MOTION
                         Plaintiff,               FOR SUMMARY JUDGMENT
15                                                RE: STATUTE OF LIMITATION
     v.
16
     BOARD OF TRUSTEES FOR THE
17   CARPENTERS SOUTHWEST
     TRUSTS;, erroneously sued as BOARD
18   OF TRU~TEES FOR THE
     SOUTHWEST CARPENTER'S
19   SOUTHWEST TRUST; et al
20                       Defendants.
21   CARPEN'I'ERS SOUTHWEST
     ADMINISTRATIVE CORPORATION
22   a California non-profit corporation; et al

23
                          Plaintiffs,

24   v.
     H K B Inc., et al
25
                         Defendants.
26
27
28
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 1 Defendants, BOARD OF TRUSTEES FOR THE CARPENTERS SOUTHWEST
 2 TRUSTS, erroneously sued as BOARD OF TRUSTEES FOR THE SOUTHWEST
 3   CARPENTER'S SOUTHWEST TRUSTS ("Board") and CARPENTERS
 4 SOUTHWEST ADMINISTRATIVE CORPORATION ("CSAC") hereby submit the
 5 following objections to the Declaration of James Douglas Wilson (ECF 28-1 ),
 6   Declaration of Xonia J. Glazewski (ECF 28-7) and Plaintiff's Statement of Facts
 7   in Support of Motion for Summary Judgment (ECF 28).
 8
       OBJECTIONS TO DECLARATION OF JAMES DOUGLAS WILSON IN
 9      SUPPORT OF PLAINTIFF'S MOTION FOR SUMMARY JUDGMENT
10                                     Objection #1
11 Purported Evidence:
12         Paragraph 4:
13               Southwest had previously used carpenters :Qrovided by the
           Construction Union to supplement its workforce for the maintenance
14         and repair work at the Power Plant, but Southwest had never been
           required to sign a long-term union contract.
15
     Grounds for Objection:
16
           Relevance (FRE 401, 402); Lack of Foundation (FRE 602).
17
     Court's Ruling:          Sustained
18                            Overruled
19
20                                     Objection #2
21 Purported Evidence:
22         Paragraph 5:
23                Southwest simply employed the individual Construction Union
           members on a piecemeal basis, paying the carpenters (and the Funds)
24         for the work actually performed, but fiaving no obligation beyond the
           temporary work provided at the Power Plant.
25
     Grounds for Objection:
26
          Relevance (FRE 401, 402); Lack of Foundation (FRE 602).
27
     Court's Ruling:          Sustained
28                            Overruled
                                             2
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 1                                      Objection #3
 2   Purported Evidence:
 3         Paragraph 6:
 4               In mid-2013, Tom Allen, a salesman for Southwest, told his
           supervisors at Southwest that the Construction Union gave him a
 5         document titled "Southwest Regional Council of CariJenters -
           Ca!IJenters Memorandum Agreement 2012-2016" (the
 6         "Memorandum"), which the Construction Union wanted Allen to sign
           on Southwest's behalf.
 7
     Grounds for Objection:
 8
           Relevance (FRE 401, 402); Lack of Foundation (FRE 602); Hearsay (FRE




15               Because Tom Allen had no experience with such documents, had
           no authority to sign such documents, and had never seen such
16         documents, Allen asked his supervisors for direction.
17 Grounds for Objection:
18         Relevance (FRE 401, 402); Lack of Foundation (FRE 602); Hearsay (FRE
19 802).
20 Court's Ruling:            Sustained
                              Overruled
21
22                                      Objection #5
23 Purported Evidence:
24         Paragraph 8:
25               Allen's supervisors told him he did not have authority to enter
           such contracts, and indeed Southwest would not agree to tlie
26         Memorandum.
27   Grounds for Objection:
28         Relevance (FRE 401, 402); Lack of Foundation (FRE 602); Hearsay (FRE

                                              3
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 1   802).
 2 Court's Ruling:              Sustained
                                Overruled
 3
 4                                        Objection #6
 5 Purported Evidence:
 6           Paragraph 13:
 7                  Subsequent to Allen's signing of the Memorandum, and still
             unaware that Allen had signed the Memorandum, Southwest reiterated
 8           to Allen that he did not have authority to bind Plaintiff by signing such
             contracts on Plaintiffs behalf.
 9
     Grounds for Objection:
10
             Relevance (FRE 401, 402); Lack of Foundation (FRE 602); Hearsay (FRE




17                 Consistent with past practices, Southwest paid for all services
             rendered by the union carpenters, including paying the plaintiff Funds.
18
     Grounds for Objection:
19
             Relevance (FRE 401, 402).
20
     Court's Ruling:            Sustained
21                              Overruled
22                                        Objection #8
2 3 Purported Evidence:
24           Paragraph 15:
25                 On information and belief, Southwest's em:R_loyees are not
             Construction Union members and do not receive Construction Union
26           benefits.
27   Grounds for Objection:
28           Relevance (FRE 401, 402); Lack of Foundation (FRE 602).

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 1 Court's Ruling:            Sustained
                              Overruled
 2
 3                                     Objection #9
 4   Purported Evidence:
 5        Paragraph 16:
 6              The Funds' demand by itself actually exceeds the value of all
          services ever provided by the union carpenters for that time period.
 7
     Grounds for Objection:
 8


10
     Court's Ruling:          Sustained
11                            Overruled
12                                    Objection #10
13 Purported Evidence:
14        Paragraph 17:
15             During the time that Southwest used carpenters provided by the
   Construction Union, neither the Construction Union nor the Funds ever brought to
16 Southwest's attention any expectation that Southwest was liable for any of the
   payments that Funds ultimately demanded as a result of the "audits."
17
     Grounds for Objection:
18
          Relevance (FRE 401, 402); Probative Value Outweighed by Unfair Prejudice,
19
     Confusion, Waste of Time (FRE 403).
20
     Court's Ruling:          Sustained
21                            Overruled
22                                    Objection #11
23   Purported Evidence:
24        Paragraph 18:
25             After the Funds made their demand for additional money,
          Southwest immediately stopped hiring the union carpenters.
26
     Grounds for Objection:
27
          Relevance (FRE 401, 402).
28

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 1   Court's Ruling:          Sustained
                              Overruled
 2

 3                                    Objection #12
 4   Purported Evidence:
 5        Paragraph 19:
 6              On information and belief: Southwest never knew that the union
          purported to offer a "benefit plan" for company managers, Southwest
 7        never knew that the managers would be deemed to be eligible for such
          benefits; and Southwest dtd not want the purported benefit plan.
 8
     Grounds for Objection:
 9
          Relevance (FRE 401, 402); Lack of Foundation (FRE 602).
10
     Court's Ruling:          Sustained
11                            Overruled
12                                    Objection #13
13 Purported Evidence:
14        Paragraph 20:
15               I never received the benefits of any Construction Union benefit
          plan, I never knew I was deemed eligible to receive such benefits, and I
16        never knew such benefits existed.
17   Grounds for Objection:
18        Relevance (FRE 401, 402).
19 Court's Ruling:            Sustained
                              Overruled
20
21                                    Objection #14
22   Purported Evidence:
23        Paragraph 21 :
24              On information and belief, Southwest's managers: never received
          the benefits of any Construction Union benefit plan; never knew they
25        were deemed eligtble to receive such benefits, and never knew such
          benefits existed.
26
     Grounds for Objection:
27
          Relevance (FRE 401, 402); Lack of Foundation (FRE 602).
28

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 1   Court's Ruling:            Sustained
                                Overruled
 2

 3                                       Objection #15
 4 Purported Evidence:
 5          Paragraph 22:
 6               Southwest's principal place of business is in Phoenix, and
            Southwest has no offices, facilities, or personnel in California.
 7
     Grounds for Objection:
 8
            Relevance (FRE 401, 402).
 9
     Court's Ruling:            Sustained
10                              Overruled
11                                       Objection #16
12   Purported Evidence:
13          Paragraph 23:
14                Southwest works in the construction industry and has a
            construction license, but it is only licensed in Arizona, not California.
15
     Grounds for Objection:
16
            Relevance (FRE 401, 402).
17
     Court's Ruling:            Sustained
18                              Overruled
19                                       Objection #17
2 0 Purported Evidence:
21          Paragraph 24:
22                Southwest does not own or lease any property in California.
2 3 Grounds for Objection:

24          Relevance (FRE 401, 402).
25   Court's Ruling:            Sustained
                                Overruled
26
27
28 Ill

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 1                                    Objection #18
 2   Purported Evidence:
 3        Paragraph 25:
 4              Southwest has no staff in California.
 5   Grounds for Objection:
 6        Relevance (FRE 401, 402).
 7   Court's Ruling:          Sustained
                              Overruled
 8
 9                                    Objection #19
10 Purported Evidence:
11        Paragraph 26:
12               Southwest does not have a California bank account, mailing
          address, post office box, statutory agent, or telephone number, nor does
13        it advertise or otherwise solicit work in California. Southwest has never
          been party to a lawsuit in California.
14
     Grounds for Objection:
15
          Relevance (FRE 401, 402).
16
     Court's Ruling:          Sustained
17                            Overruled
18                                    Objection #20
19 Purported Evidence:
20        Paragraph 27:
21              Southwest works almost exclusively in Arizona.
2 2 Grounds for Objection:
23        Relevance (FRE 401, 402).
24   Court's Ruling:          Sustained
                              Overruled
25
26                                    Objection #21
27   Purported Evidence:
28        Paragraph 28:

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 1              Southwest has four office locations, all of which are in Arizona:
          two in Phoenix, one in Flagstaff; and one in Tucson.
 2
     Grounds for Objection:
 3
          Relevance (FRE 401, 402).
 4
     Court's Ruling:          Sustained
 5                            Overruled
 6                                    Objection #22
 7   Purported Evidence:
 8        Paragraph 29:
 9              I work and reside in Arizona.
10 Grounds for Objection:
11        Relevance (FRE 401, 402).
12 Court's Ruling:            Sustained
                              Overruled
13
14                                    Objection #23
15 Purported Evidence:
16        Paragraph 30:
17              U,Ron information and belief, Messrs. Harry Kent Baker
          ("Baker ) and Scott William Miller ("Miller") work and reside in
18        Arizona.
19 Grounds for Objection:
20        Relevance (FRE 401, 402); Lack of Foundation (FRE 602).
21 Court's Ruling:            Sustained
                              Overruled
22
23                                    Objection #24
24   Purported Evidence:
25        Paragraph 31 :
26              I do not own any property in California.
27   Grounds for Objection:
28        Relevance (FRE 401, 402).

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 1   Court's Ruling:            Sustained
                                Overruled
 2
 3                                        Objection #25
 4 Purported Evidence:

 5            Paragraph 32:
 6                 Upon information and belief, Messrs. Baker and Miller do not
              own any property in California.
 7
     Grounds for Objection:
 8
              Relevance (FRE 401, 402); Lack of Foundation (FRE 602).
 9
     Court's Ruling:            Sustained
10                              Overruled
11                                        Objection #26
12 Purported Evidence:
13            Paragraph 33:
14                  I do not have a California phone number, address or other
              contact information.
15
     Grounds for Objection:
16
              Relevance (FRE 401, 402).
17
     Court's Ruling:            Sustained
18                              Overruled
19                                        Objection #27
2 0 Purported Evidence:
21            Paragraph 34:
22                  U_pon information and belief; Messrs. Baker and Miller do not
              have a California phone number, address or other contact information.
23
     Grounds for Objection:
24
              Relevance (FRE 401, 402); Lack ofFoundation (FRE 602).
25
     Court's Ruling:            Sustained
26                              Overruled
27   ///

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 1                                     Objection #28
 2 Purported Evidence:
 3        Paragraph 35:
 4              I have no contact with or affiliation with any lawyers, litigants,
          or witnesses in California.
 5
     Grounds for Objection:
 6
          Relevance (FRE 401, 402).
 7
     Court's Ruling:          Sustained
 8                            Overruled
 9                                     Objection #29
1 0 Purported Evidence:

11        Paragraph 36:
12              Upon information and belief, Messrs. Baker and Miller have no
          contact with or affiliation with any lawyers, litigants, or witnesses in
13        California.
14 Grounds for Objection:
15        Relevance (FRE 401, 402); Lack of Foundation (FRE 602).
16 Court's Ruling:            Sustained
                              Overruled
17
18                                     Objection #30
19 Purported Evidence:
20        Paragraph 37:
21              I have never been party to a lawsuit in California.
22 Grounds for Objection:
23        Relevance (FRE 401, 402).
24 Court's Ruling:            Sustained
                              Overruled
25
26                                     Objection #31
27 Purported Evidence:
28        Paragraph 3 8:

                                             11
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 1              Upon information and beliefi Messrs. Baker and Miller have
          never been party to a lawsuit in Ca ifomia.
 2
     Grounds for Objection:
 3
          Relevance (FRE 401, 402); Lack of Foundation (FRE 602).
 4
     Court's Ruling:          Sustained
 5                            Overruled
 6                                     Objection #32
 7   Purported Evidence:
 8        Paragraph 39:
 9                On information and belief, Tom Allen resides in the Phoenix
          area.
10
     Grounds for Objection:
11
          Relevance (FRE 401, 402); Lack of Foundation (FRE 602).
12
     Court's Ruling:          Sustained
13                            Overruled
14                                     Objection #33
15 Purported Evidence:
16        Paragraph 40:
17               On information and belief, all of Southwest's anticipated party
          witnesses reside in the Phoenix area: Harry Baker, Owner and
18        President, Mike Madge, V .P. ofOJ.?erations; James Wilson, CFO; Scott
          William Miller, Officer; Michael Allen, Aaron Blaha, Thomas
19        Brennan, Ryan Bryant, Daniel Estrada, Gary Goss, Harry Leiden,
          Robert Jacobi, Tracey Lay, Sam Melendez, Scott Nelson, Gn~gory
20        Rasko, Robert Shearer, Bradley Bryan, Peter Francis, Curtis Howe,
          Lemanuel Jim, Paul Sewell, Southwest employees identified by
21        Plaintiffs audit.
22   Grounds for Objection:
23        Relevance (FRE 401, 402); Lack of Foundation (FRE 602).
24   Court's Ruling:          Sustained
                              Overruled
25
26                                     Objection #34
27   Purported Evidence:
28        Paragraph 41 :

                                             12
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 1              On information and belief, eight of the twenty-four union
          members provided to Southwest by the Construction Union reside in
 2        Arizona.
 3 Grounds for Objection:
 4        Relevance (FRE 401, 402); Lack of Foundation (FRE 602).
 5   Court's Ruling:          Sustained
                              Overruled
 6

 7                                    Objection #35
 8 Purported Evidence:

 9        Paragraph 42:
10             On information and belief, at the time he signed the
          Memorandum, Tom Allen was a Southwest employee living in Arizona
11        who did not travel to California to negotiate or sign the Memorandum.
12 Grounds for Objection:
13        Relevance (FRE 401, 402); Lack of Foundation (FRE 602).
14 Court's Ruling:            Sustained
                              Overruled
15
16                                    Objection #36
17   Purported Evidence:
18        Paragraph 43:
19             Southwest has never engaged the Construction Union to perform
          any work in California.
20
     Grounds for Objection:
21
          Relevance (FRE 401, 402).
22
     Court's Ruling:          Sustained
23                            Overruled
24                                    Objection #37
25   Purported Evidence:
26        Paragraph 44:
27              To the extent possible, Southwest avoids doing business in
          California due to increased employment and environmental regulations.
28

                                           13
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 1 Grounds for Objection:
 2        Relevance (FRE 401, 402).
 3   Court's Ruling:            Sustained
                                Overruled
 4

 5                                       Objection #38
 6 Purported Evidence:
 7        Paragraph 45:
 8               Only a small fraction of Southwest's heavy equipment could
          satisfy California's more stringent environmental regulations.
 9
     Grounds for Objection:
10
          Relevance (FRE 401, 402).
11
     Court's Ruling:            Sustained
12                              Overruled
13                                       Objection #39
14 Purported Evidence:
15        Paragraph 46:
16              Southwest never sought out California workers from the
          Construction Union -the unton merely provided workers to Southwest
17        based on availability.
18 Grounds for Objection:
19        Relevance (FRE 401, 402).
20 Court's Ruling:              Sustained
                                Overruled
21
22                                       Objection #40
23 Purported Evidence:
24        Entire declaration.
25   Grounds for Objection:
26        In paragraph 1 of the declaration, declarant states: "I submit this declaration
          for the sole QUrpose of supporting Southwest's motion to dismiss this lawsuit
27        based uponJorum non conveniens." Plaintiffs use of the declaration in
          support of the Motion for Summary Judgment is beyond the scope for which the
28        declaration was submitted.

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 1
     Court's Ruling:          Sustained
 2                            Overruled
 3
         OBJECTIONS TO DECLARATION OF XONIA J. GLAZEWSKI IN
 4      SUPPORT OF PLAINTIFF'S MOTION FOR SUMMARY JUDGMENT
 5                                   Objection #41
 6   Purported Evidence:
 7        Paragraph 4:

 8              The Funds' _payment demand was not based upon any work
          performed by the Union's carpenters.
 9
     Grounds for Objection:
10
          Relevance (FRE 401, 402); Lack of Foundation (FRE 602).
11
     Court's Ruling:          Sustained
12                            Overruled
13                                   Objection #42
14   Purported Evidence:
15        Paragraph 5:

16              The Funds demanded payment solely based upon services
          performed by Southwest's own employees.
17
     Grounds for Objection:
18
          Relevance (FRE 401, 402); Lack of Foundation (FRE 602).
19
     Court's Ruling:          Sustained
20                            Overruled
21                                   Objection #43
2 2 Purported Evidence:
23        Paragraph 6:
24            On information and belief, Southwest's employees are not
          members of and have no affiliation with the Union.
25
     Grounds for Objection:
26
          Relevance (FRE 401, 402); Lack of Foundation (FRE 602).
27
     Court's Ruling:          Sustained
28                            Overruled

                                          15
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 1          OBJECTIONS TO PLAINTIFF'S STATEMENT OF FACTS IN
              SUPPORT OF MOTION FOR SUMMARY JUDGMENT
 2
 3                                    Objection #44
 4 Purported Evidence:

 5        Paragraph 2:

 6              Southwest had previously used carpenters provided by the
          Southwest Regional Council of Carpenters (the ''Union") to
 7        supplement its workforce for the maintenance and repair work at the
          Power Plant, but Southwest had never been required to sign a
 8        long-term contract. Wilson Decl. 'ff 4.
 9 Grounds for Objection:
10        Relevance (FRE 401, 402); Lack of Foundation (FRE 602).
11 Court's Ruling:            Sustained
                              Overruled
12
13                                    Objection #45
14   Purported Evidence:
15        Paragraph 3:
16               Southwest simply employed the individual Union carpenters on a
          piecemeal basis, paytng the carpenters (and the Funds) for the work actually
17        J?erformed, but havtng no obligation beyond the temporary work provided at
          the Power Plant. Wilson DecI. 'lf 5.
18
     Grounds for Objection:
19
          Relevance (FRE 401, 402); Lack of Foundation (FRE 602).
20
     Court's Ruling:          Sustained
21                            Overruled
22                                    Objection #46
2 3 Purported Evidence:
24        Paragraph 4:
25               In mid-20 13, Tom Allen a salesman for Southwest, told his
          SlJpervisors at Southwest that the Union gave him a document titled
26        "s-outhwest Regional Council of Carpenters - Carpenters
          Memorandum 2012-2016" (the "Memorandum"), which the
27        Union wanted Allen to sign on Southwest's behalf. Wilson Decl. ~ 6.
2 8 Grounds for Objection:

                                            16
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 1           Relevance (FRE 401, 402); Lack of Foundation (FRE 602); Hearsay (FRE
     802).
 2
     Court's Ruling:            Sustained
 3                              Overruled
 4                                        Objection #47
 5 Purported Evidence:

 6           Paragraph 5:
 7                 Allen was only a salesman for Southwest, so he asked his
             supervisors for direction. Wilson Decl. ~ 7.
 8
     Grounds for Objection:
 9
             Relevance (FRE 401, 402); Lack of Foundation (FRE 602); Hearsay (FRE
10   802).
11   Court's Ruling:            Sustained
                                Overruled
12
13                                        Objection #48
14   Purported Evidence:
15           Paragraph 6:
16                 His supervisors told him he did not have authority to enter such
             contracts, ano indeed Southwest would not agree to the Memorandum.
17           Wilson Decl. ~8.
18   Grounds for Objection:
19           Relevance (FRE 40 I, 402); Lack of Foundation (FRE 602); Hearsay (FRE
     802).
20
     Court's Ruling:            Sustained
21                              Overruled
22                                        Objection #49
23   Purported Evidence:
24           Paragraph 8:
25                 Thereafter, Southwest used Union carpenters to perform temp
             work at the Power Plant, just as it had been doing for years. Wilson
26           Decl. ~ 14.
2 7 Grounds for Objection:
28           Relevance (FRE 40 I, 402).

                                               17
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 1
     Court's Ruling:          Sustained
 2                            Overruled
 3                                     Objection #50
 4 Purported Evidence:

 5        Paragraph 9:

 6              Consistent with past practices, Southwest .Paid for all services
          rendered by the Union carpenters. Wilson Decl. ,I 14.
 7
     Grounds for Objection:
 8
          Relevance (FRE 401, 402).
 9
     Court's Ruling:          Sustained
10                            Overruled
11
12                                     Objection #51
13 Purported Evidence:
14        Paragraph 12:

15              The Funds'J?ayment demand was not based ugon any work
          performed by the Union's carpenters. Ornelas Decl. 114.
16
     Grounds for Objection:
17
          Relevance (FRE 401, 402); Lack ofFoundation (FRE 602).
18
     Court's Ruling:          Sustained
19                            Overruled
20
21                                     Objection #52
22 Purported Evidence:
23        Paragraph 13:
24              The Funds demanded payment solely based upon services
          performed by Southwest's own employees. Ornelas Decl. ~ 5.
25
     Grounds for Objection:
26
          Relevance (FRE 401, 402); Lack of Foundation (FRE 602).
27
     Court's Ruling:          Sustained
28                            Overruled

                                             18
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 1                                   Objection #53
 2   Purported Evidence:
 3        Paragraph 14:

 4                Southwest's employees are not members of and have no
          affiliation with the Unton. Ornelas Decl. ~ 6.
 5
     Grounds for Objection:
 6
          Relevance (FRE 401, 402); Lack of Foundation (FRE 602).
 7
     Court's Ruling:          Sustained
 8                            Overruled
 9                                   Objection #54
10   Purported Evidence:
11        Paragraph 15:

12              Southwest's emptqyees are not Union members and do not
          receive Union benefits. Wilson Decl. '1{15.
13
     Grounds for Objection:
14
          Relevance (FRE 401, 402); Lack of Foundation (FRE 602).
15
     Court's Ruling:          Sustained
16                            Overruled
17
18 DATED: April _!_1_, 2017        DeCARLO & SHANLEY
                                   A Professional Corporation
19
20
                                   Thomas Davis
21                                 Attorn~ys for Defendants CARPENTERS
                                   SOUTHWEST ADMINISTRATIVE
22                                 CORPORATION and BOARD OF TRUSTEES
                                   FOR THE CARPENTERS SOUTHWEST TRUSTS
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                             CERTIFICATE OF SERVICE

                      (H K B, Inc., etc., v. Board of Trustees, etc.)
                     (USDC-Arizona Case No. 2:16-cv-03799DJH)


X   I hereby certify that on April 13, 20 17, I electronically transmitted the attached
    document, DEFENDANTS' OBJECTIONS TO DECLARATIONS FILED WITH
    PLAINTIFF'S AMENDED MOTION FOR SUMMARY JUDGMENT RE:
    STATUTE OF LIMITATION, to the Clerk's Office using the CM/ECF System for
    filing and transmittal of a Notice of Electronic Filing to the following CM/ECF
    registrants:

          James Edward Holland, Jr. - jholland@stinson.com,cbarajas@stinson.com
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                Executed on April13, 2017, at Los Angeles, California.


X   I declare that I am employed in the office of a member of the bar of this court at whose
    direction the service was made.



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